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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



RANDI WEINGARTEN, in her official capacity
as President of the American Federation of
                                                   Civil Action No. 1:19-cv-02056 (DLF)
Teachers, AFL-CIO,
AMERICAN FEDERATION OF TEACHERS,
AFL-CIO,
CYNTHIA MILLER,
CRYSTAL ADAMS,
CONNIE WAKEFIELD,
DEBORAH BAKER,
JANELLE MENZEL
KELLY FINLAW,
GLORIA NOLAN, and
MICHAEL GIAMBONA
             Plaintiffs,
v.
ELISABETH DEVOS, in her official capacity as
the Secretary of the United States Department of
Education, and
UNITED STATES DEPARTMENT OF
EDUCATION
             Defendants.


MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
  PARTIAL MOTION TO DISMISS COUNTS III, IV, AND V AND TO DISMISS
          PLAINTIFFS RANDI WEINGARTEN AND AMERICAN
               FEDERATION OF TEACHERS, AFL-CIO
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                                        INTRODUCTION

       This lawsuit is a play in three acts, each of which is centered on alleged problems with the

administration of the Public Service Loan Forgiveness (“PSLF”) and the Temporary Expanded

Public Service Loan Forgiveness (“TEPSLF”) Programs by Defendants, the United States

Department of Education (“Department”) and Elisabeth DeVos, in her official capacity as

Secretary of the Department of Education (“Secretary”) (collectively, “Education”). See Compl.,

ECF No. 1 (July 11, 2019).

       In Act One, three individuals, Cynthia Miller, Crystal Adams, and Connie Wakefield

(collectively, “Eligible Plaintiffs”), allege that they are eligible for relief under the PSLF/TEPSLF

Programs. They are pursuing their individual claims (Counts I and II) under the Administrative

Procedures Act (“APA”). Education is not currently moving against these claims.

       In Act Two, a separate set of five individual plaintiffs, Deborah Baker, Janelle Menzel,

Kelly Finlaw, Gloria Nolan, and Michael Giambona (collectively, “Ineligible Plaintiffs”), allege

that, but for errors in the servicing of their loans, they would be eligible for relief under the

PSLF/TEPSLF Programs. The Ineligible Plaintiffs are also pursuing their individual claim (Count

IV) under the APA. The Ineligible Plaintiffs lack standing and fail to state a claim upon which

relief may be granted because, as they concede, they are currently ineligible for relief under either

the PSLF or the TEPSLF Programs. The Court cannot provide redress to the Ineligible Plaintiffs

because it cannot order the Secretary to exercise her discretion to make them eligible. Nor were

Education’s denials of the Ineligible Plaintiffs’ PSLF/TEPSLF applications arbitrary and

capricious because these borrowers did not meet the Programs’ eligibility requirements. Hence,

Education moves for, and the Court should grant, the dismissal of Count IV under Federal Rules

of Procedure 12(b)(1) and 12(b)(6).



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       In Act Three, the Eligible and Ineligible Plaintiffs (collectively, “Individual Plaintiffs”) are

joined by the American Federation of Teachers, AFL-CIO, and its President, Randi Weingarten,

in her official capacity (collectively, “AFT”), to raise what is essentially a wholesale programmatic

challenge to Education’s administration of the PSLF/TEPSLF Programs under the Fifth

Amendment’s Due Process Clause. See Compl. at Counts III & V. AFT and the Individual

Plaintiffs ask the Court to order and then oversee the institution of processes to “minimize the risk

of erroneous determinations,” id. ¶ 417, and “account for misrepresentations made by [Education]

and/or Title IV servicers.” Id. ¶ 434. They also seek an order enjoining Education from denying

any PSLF/TEPSLF applications “until the Court has approved [Education]’s proposed procedures

to alleviate the violations alleged herein.” Id. at Prayer for Relief No. 9.

       The programmatic challenges raised in Counts III and V should be dismissed. Under long-

standing Supreme Court precedent, particularly Norton v. S. Utah Wilderness All., 542 U.S. 55

(2004) (“SUWA”), and Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871 (1990), the Court has no

authority to entertain such a wholesale programmatic challenge, particularly in light of the

intensity of congressional and executive branch oversight that has been, and continues to be,

focused on Education’s administration of the PSLF and TEPSLF Programs. As the Supreme Court

made clear in Lujan, a plaintiff “cannot seek wholesale improvement of [a] program by court

decree, rather than in the offices of the Department or the halls of Congress, where programmatic

improvements are normally made.” 497 U.S. at 891. Nor are courts “empowered to enter general

orders compelling compliance with broad statutory mandates,” for if they were, “they would

necessarily be empowered, as well, to determine whether compliance was achieved[,] . . . injecting

the judge into day-to-day agency management.” Id. at 66-67. Accordingly, Education moves to

dismiss Counts III and V under either Rules 12(b)(1) or 12(b)(6).



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        In addition, AFT has no standing to bring Counts III and V under the doctrines of either

organizational or association standing. AFT lacks organizational standing because it fails to allege

that its own operations are impeded or that its operational costs are beyond those normally

expended. AFT lacks association standing because the claims it raises require individualized

participation of its members. Accordingly, AFT should be dismissed from this litigation under

Rule 12(b)(1).

        In sum, and for the reasons set forth below, the Court should grant Education’s Partial

Motion to Dismiss, should dismiss Counts III, IV, and V of Plaintiffs’ Complaint, and should

dismiss AFT (i.e., both Randi Weingarten and the American Federation of Teachers, AFL-CIO)

as parties to this litigation.

                                         BACKGROUND

        A.       Statutory and Regulatory Background

        The College Cost Reduction and Access Act of 2007 (“CCRAA”) amended the Higher

Education Act of 1965 to add a new Public Service Loan Forgiveness Program to the William D.

Ford Direct Loan (“Direct Loan”) Program. 73 Fed. Reg. 37,694, 37,695 (July 1, 2008). The

Direct Loan Program provides subsidized and unsubsidized loans to students and their parents to

pay for the costs of attendance at qualifying institutions of higher education. 20 U.S.C. § 1087c(a).

Signed into law by President George W. Bush, the CCRAA amended 20 U.S.C. § 1087e(m) to

include language directing the Secretary of Education to “cancel the balance of interest and

principal due . . . on any eligible Federal Direct Loan not in default” for borrowers who meet

certain eligibility requirements. To qualify for loan forgiveness under the PSLF Program, a

borrower must: (1) have made 120 monthly payments on an eligible loan after October 1, 2007

under designated repayment plans; (2) be employed in a public service job at the time of



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forgiveness; and (3) be employed in a public service job at the time each of the 120 monthly

payments were made, and at the time forgiveness is granted. 20 U.S.C. § 1087e(m)(1)(A), (B). In

2008, the Department of Education developed implementing regulations that expressed the

eligibility requirements as follows:

       (1) A borrower may obtain loan forgiveness under this program if he or she—

           (i) Is not in default on the loan for which forgiveness is requested;

           (ii) Is employed full-time by a public service organization or serving in a full-
                time AmeriCorps or Peace Corps position—

               (A) When the borrower makes the 120 monthly payments described under
                   paragraph (c)(1)(iii) of this section;

               (B) At the time of application for loan forgiveness; and

               (C) At the time the remaining principal and accrued interest are forgiven;

           (iii) Makes 120 monthly payments after October 1, 2007, on eligible Direct
                loans for which forgiveness is sought. Except as provided in paragraph
                (c)(2) . . . the borrower must make the monthly payments within 15 days of
                the scheduled due date for the full scheduled installment amount; and

           (iv) Makes the required 120 separate monthly payments under one or more of
               the following repayment plans—

               (A) Except for a parent PLUS borrower, an income-based repayment plan,
                   as determined in accordance with § 685.221;

               (B) Except for a parent PLUS borrower, an income-contingent repayment
                   plan, as determined in accordance with § 685.209;

               (C) A standard repayment plan, as determined in accordance with
                   § 685.208(b); or

               (D) Except for the alternative repayment plan, any other repayment plan if
                   the monthly payment amount is not less than what would have been
                   paid under the Direct Loan standard repayment plan described in
                   § 685.208(b).

34 C.F.R. §685.219(c). See also Compl. ¶ 79.



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       Although these elements may appear relatively simple on their face, the reality—by

congressional design—is far more complex. For example, at the time Congress established the

PSLF in 2007, there were two main federal student financial assistance programs through which

student borrowers could obtain loans—the Federal Family Education Loan Program (“FFEL

Program”) and the Direct Loan Program. Compl. ¶ 51. FFEL loans were originated and funded

primarily by private lenders, whereas through the Direct Loan Program, loans were originated (and

still are originated) directly by the federal government. Id. ¶ 52. In 2007, the majority of borrowers

participated in the FFEL Program. Alexandra Hegji, Cong. Research Serv., R45389, The Public

Service Loan Forgiveness Program: Selected Issues 37 & n.149 (2018) (“CRS Rep. R45389”);

see Federal Student Aid, U.S. Dep’t of Educ., Federal Student Aid Portfolio Summary, available

at   https://studentaid.ed.gov/sa/sites/default/files/fsawg/datacenter/library/PortfolioSummary.xls

(last visited Oct. 4, 2019). However, Congress made PSLF relief available only to those borrowers

who received Direct Loans. See 20 U.S.C. § 1087e(m); see also U.S. Gov’t Accountability Office,

GAO-18-547, Public Service Loan Forgiveness: Education Needs to Provide Better Information

for the Loan Servicer and Borrowers 1 (2018) (“GAO-18-547”), and CRS Rep. R45389 at 3 &

n.14. 1 Congress made this choice “in part to act as an incentive for borrowers to switch from the




1
  GAO-18-547 and CRS Rep. R45389 are two of many public records Defendants cite in this
memorandum that are incorporated by reference in the Complaint, see Compl. ¶¶ 7-8 & n.5-6.
“The court ruling on a Rule 12(b)(6) motion to dismiss ‘may consider the facts alleged in the
complaint, documents . . . incorporated by reference in the complaint, or documents upon which
the plaintiff’s complaint necessarily relies even if the document is produced not by the parties.’
The court may also take ‘judicial notice of facts on the public record.’” Judicial Watch, Inc. v.
FBI, No. CV 18-2316 (RC), 2019 WL 4194501, at *5 (D.D.C. Sept. 4, 2019) (quoting Busby v.
Capital One, N.A., 932 F. Supp. 2d 114, 133–34 (D.D.C. 2013) and Covad Commc’ns Co. v. Bell
Atl. Corp., 407 F.3d 1220, 1222 (D.C. Cir. 2005)).


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FFEL program to the Direct Loan Program; such a switch was predicted to result in cost savings

to the government.” Id. at 3 n.14.

       A borrower with FFEL Loans may obtain relief under the PSLF program, but only if the

borrower consolidates her loans into a Direct Loan. Compl. ¶ 78. Payments made prior to

consolidation do not qualify as part of a borrower’s 120-payment obligation under the PSLF. Id.;

see also GAO-18-547 at 4 n.5. See 34 C.F.R. § 658.219(c)(1)(iii) (“A borrower may obtain loan

forgiveness under this program if he or she – (iii) Makes 120 separate monthly payments after

October 1, 2007 on eligible Direct loans for which forgiveness is sought.”); and id. § 658.219(b)

(defining “Eligible Direct loan” as including Direct Subsidized Loans, Direct Unsubsidized Loans,

Direct PLUS Loans, and Direct Consolidation Loans).

       Even if a borrower took out the “right” loan (i.e., a Direct Loan as opposed to a FFEL

Loan), or properly consolidated her loan, other statutory and regulatory requirements exist (and

have existed since the PSLF program began).         For example, not all repayment plans are

“qualifying.” Only income-driven repayment (“IDR”) plans and the 10-year Standard repayment

plan (or the equivalent) qualify, GAO-18-547 at 5; graduated and extended repayment plans are

not qualifying repayment plans under PSLF even though these plans were more widely used prior

to the creation of alternative IDR plans in 2012 and 2015. See CRS Rep. R45389 at 37 (noting the

limited IDR options available to the initial cohort of borrowers post-enactment of the CCRAA);

see also U.S. Gov’t Accountability Office, GAO-15-663, Federal Student Loans: Education

Could Do More to Help Ensure Borrowers Are Aware of Repayment and Forgiveness Options 13-

18 (2015), available at https://www.gao.gov/assets/680/672136.pdf (last visited Oct. 4, 2019). In

addition, payments made while loans are in an in-school status, grace period, deferment, or

forbearance do not qualify. CRS Rep. R45389 at 20; see also Federal Student Aid, U.S. Dep’t of



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Educ., What Is a Qualifying Monthly Payment?, available at https://studentaid.ed.gov/sa/repay-

loans/forgiveness-cancellation/public-service#qualifying-payment (last visited, Oct. 4, 2019).

       B.      Mechanics of the PSLF Program

       The Department of Education administers the federal student financial aid programs under

Title IV of the Higher Education Act through the Federal Student Aid office. Compl. ¶ 50. Under

the Direct Loan Program, the Department issues and oversees the loans while contractors service

them. GAO-18-547 at 3-4. Since 2011, the Department has contracted with one of its existing

loan servicers, FedLoan Servicing, as its sole servicer for borrowers pursuing PSLF relief. Id. at

4; Compl. ¶ 69. In 2012, the Department established a voluntary process—the submission of an

Employment Certification Form (“ECF”)—to provide guidance to borrowers about the eligibility

of their employment and payments for PSLF (and servicing by FedLoan Servicing). GAO-18-

547 at 5; Compl. ¶¶ 69-74. In comparison to the 32 million borrowers who were estimated as of

2016 to be repaying loans that are potentially eligible for PSLF relief—see Consumer Fin. Prot.

Bureau, Staying on Track While Giving Back: The Cost of Student Loan Servicing Breakdowns for

People Serving Their Communities 20 n.34 (2017) (“CFPB Rep. 2017”); and Compl. ¶¶ 3 & 4

n.3—comparatively few (less than 900,000) have gone through the ECF process. See GAO-18-

547 at 10, Fig. 4.

       If, after 120 months have passed, a borrower applies for PSLF relief with FedLoan

Servicing, the servicer first determines whether the borrower’s loans qualify and if the borrower’s

employment qualifies. If either do not qualify, the borrower receives a notification that the

application is denied. GAO-18-547 at 8, Fig. 2. If the borrower qualifies under the first two

parameters, the servicer reviews the application to determine whether the applicant has made 120

qualifying payments. Id. If the borrower has not made 120 qualifying payments, the servicer



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notifies the borrower that she has not made 120 qualifying payments and does not qualify for

forgiveness yet. Id. If the servicer finds that 120 qualifying payments have been made, the

application is transferred to the Department for final review and, if the application shows the

borrower has met the eligibility requirements, final approval. Id. The Department provides several

options for disputing payment counts or other eligibility issues, “including contacting the PSLF

servicer or filing an official complaint with [the Department of] Education’s Federal Student Aid

Ombudsman Group or through the Federal Student Aid Feedback System.” Id. at 23.

       C.      Congressional and Executive Branch Oversight

       There is no doubt that since October 1, 2017, when PSLF relief first became available,

PSLF application approval rates have been low. GAO-18-547 at 11. Given that each individual

borrower’s personal circumstances are different, an applicant may face one or more of numerous

obstacles to achieving eligibility under the PSLF program. See CRS Rep. R45389 at 24-25

(identifying obstacles and citing CFPB Rep. 2017).

         Congress has been aware of these issues for quite some time, as it has maintained

oversight of the PSLF Program and has worked to address its problems. For instance, in 2010,

through the Student Aid and Fiscal Responsibility Act of 2009 (“SAFRA”), Title II of Pub. L. No.

111-152, §§ 2001-303, 1224 Stat. 1029 (2010), Congress terminated making new loans under the

FFEL Program as of June 30, 2010, meaning that no borrowers who took out loans after that time

will find themselves ineligible after 120 repayments due to having the wrong loan (i.e., an FFEL

Loan). This FFEL-free cohort will become eligible for PSLF relief no earlier than July 1, 2020.

CRS Rep. R45389 at 4-5. Congress also authorized an additional IDR plan for post-July 1, 2014

borrowers; this new plan made larger numbers of borrowers eligible for IDR plans and thus eligible

for PSLF relief. Id. at 5.



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       But by 2017, Congress was aware that the complexities in the PSLF program might cause

issues in its early years. At Secretary DeVos’s confirmation hearing, Senator Bob Casey noted

that the first recipients of the PSLF program would be receiving benefits in late 2017 and that it

would “be important to track this first group’s progress of how they maintained their payments

during these past 10 years and to take steps to address any confusion that may arise when borrowers

submit the complex forms required for forgiveness and determine which payments qualified.”

Nomination of Betsy DeVos to Serve as Secretary of Education: Hearing of the Comm. on Health,

Education, Labor, and Pensions, 115th Cong. 120, 177 (2017).

       Later in June 2017, just before the first cohort of borrowers became eligible, the Consumer

Financial Protection Bureau (“CFPB”) issued a report identifying potential problems in the PSLF

program and recommending that “[a]s policymakers . . . note how servicing breakdowns can delay

or derail progress towards PSLF, those seeking to assist these borrowers should consider whether

additional flexibility is necessary to ensure that borrowers who received inaccurate information

about program requirements provided by their student loan servicer will still be able to secure these

benefits.” CFPB Rep. 2017 at 7.

       Only a few months after the first cohort of borrowers became eligible for PSLF relief,

Congress enacted the TEPSLF Program in March 2018. Pub. L. No. 115-141, § 315, 132 Stat.

348, 752-53 (2018). The TEPSLF Program was intended to help borrowers who would have been

eligible for the PSLF Program, except that they were repaying their loans through a repayment

plan that is not eligible for PSLF relief. U.S. Gov’t Accountability Office, GAO-19-595, Public

Service Loan Forgiveness: Improving the Temporary Expanded Process Could Help Reduce

Borrower Confusion 1 (2019) (“GAO-19-595”). Congress initially provided $350 million to fund

the costs of modifying the PSLF Program (up to $500 million in loan forgiveness benefits), and in



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late September 2018, Congress appropriated another $350 million for the same purposes and under

the same terms. Pub. L. No. 115-245, § 313, 132 Stat. 2981, ___ (2018). Congress did not impose

any procedural requirements on the Department other than to require that the Department develop

and make available a simple method for borrowers to apply for TEPSLF relief within sixty days

of enactment of the law. Since Congress capped the total amount of loan forgiveness that could

be granted, it also provided that loan cancellation would be granted on a first-come, first-served

basis up to the statutory cap. Pub. L. No. 115-141, § 315. Congress did not amend the PSLF

Program to allow those borrowers with FFEL Loans to be eligible for PSLF relief or allow such

borrowers to obtain relief under the TEPSLF Program.

       Just at the time Congress was appropriating an additional $350 million for TEPSLF in late

September 2018, the GAO published a report on the PSLF Program in response to a congressional

request. The GAO made four recommendations to improve the PSLF Program. The four

recommendations were, in brief:       (1) “issuing a comprehensive guidance and instructions

document for PSLF servicing”; (2) “provide additional information to the PSLF servicer and

borrowers to enhance their ability to determine which employers qualify for PSLF”; (3)

“standardize the information the PSLF servicer receives from other loan servicers”; and (4) “ensure

that borrowers receive sufficiently detailed information from the PSLF servicer to be able to

identify any errors in the servicer’s counts of qualifying payments.” GAO-18-547 at 25. The

Department agreed with each of the recommendations and identified steps it would take to

implement them. Id. at 26. In particular, the Department agreed to “review the letters the PSLF

servicer sends to borrowers to determine how to better communicate regarding qualifying payment

counts, program requirements, and employer eligibility.” Id.




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        A year later, the GAO, again at Congress’s behest, issued a report on the TEPSLF

Program. GAO-19-595. As the GAO noted, the “eligibility requirements for TEPSLF are largely

the same as those of the PSLF program with a few key exceptions.” Id. at 5. Specifically, the

TEPSLF Program expanded the number of qualifying plans and allocated money for the

Department to use to conduct outreach to borrowers who would qualify for PSLF loan forgiveness

except that they have made some or all of their payments through plans that do not qualify. Id. at

6. The GAO noted the low approval rates for TEPSLF applicants, but blamed the problem largely

on the fact that the Department required borrowers to submit PSLF applications before or with

their TEPSLF applications. The GAO report called for the Department to “allow borrowers to

request TEPSLF loan forgiveness through an integrated application form.” Id. at 10. The

Department agreed with this recommendation and “stated that it will integrate the TEPSLF request

into the PSLF application under [the Department’s] new online interface for student borrowers.”

Id. at 22. In response to a separate recommendation by GAO, the Department agreed to “add

information for borrowers on the procedures for contesting TEPSLF decisions to FSA’s specific

TEPSLF website and in relevant TEPSLF denial letters.” Id. at 23.

       On September 19, 2019, the House Subcommittee on Higher Education and Workforce

Investment held a hearing that focused on addressing the PSLF/TEPSLF Programs’ problems.

Broken Promises: Examining the Failed Implementation of the Public Service Loan Forgiveness

Program Before the Subcomm. on Higher Educ. & Workforce Inv., 116th Cong. (Sept. 19, 2019).

       D.      The Complaint

       Plaintiffs filed their Complaint on July 11, 2019 against Education (i.e., Secretary DeVos,

in her official capacity, and the Department of Education).       They seek to hold Education

“accountable for its [alleged] gross mismanagement of the [PSLF] Program and the [TEPSLF]



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Program in violation of the APA and the Fifth Amendment’s Due Process Clause.” Compl. at 1.

They cite numerous governmental statistics of the PSLF/TEPSLF Programs’ alleged deficiencies,

including that “as of March 2019, [Education] had forgiven the loans of fewer than 1% of the

borrowers applying for PSLF,” Compl. ¶ 3 (citing U.S. Dep’t of Educ., Fed. Student Aid, March

2019 PSLF Report (Mar. 31, 2019)) (emphasis omitted); and that “as of March 2019, only 3.6%

of TEPSLF applications have been approved.” Id. ¶ 4 (citing March 2019 PSLF Report). They

also cite findings from various oversight agency reports, for instance, “that ‘[Education] has not

ensured the PSLF servicer is receiving consistent loan payment history information from other

loan servicers, increasing the risk of inaccurate qualifying payment counts,’” id. ¶ 97 (quoting

GAO-18-547); that Education “has failed to provide FedLoan Servicing and borrowers with

sufficient information to determine whether a borrower’s employer qualifies as a public service

employer, . . . fostering ‘uncertainty for borrowers’ as to whether they will qualify for PSLF,” id.

¶ 98 (quoting GAO-18-547); that “borrowers ‘struggle to get their servicer to correct [payment

counting] error[s] or explain why payments were not qualified,’ . . . ‘[making] it difficult for

borrowers to detect erroneous counts that could ultimately affect their eligibility for loan

forgiveness,” id. ¶ 102 (quoting CFPB Rep. 2017 at 39 and GAO-18-547 at 25); and that while

“‘FSA’s oversight activities regularly identified instances of servicers not servicing federally held

student loans in accordance with Federal requirements, . . . [Education] rarely hold[s] servicers

accountable for instances of noncompliance . . . , [and thus] is not providing servicers with

incentive to take actions to mitigate the risk of continued noncompliance.’” Id. ¶¶ 242-43 (quoting

U.S. Dep’t of Educ., Office of Inspector Gen., ED-OIG/A05Q0008, Federal Student Aid:

Additional Actions Needed to Mitigate the Risk of Servicer Noncompliance with Requirements for

Servicing Federally Held Student Loans (Mar. 5, 2008)).



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        Plaintiffs claim that in allegedly failing to correct these issues, Education “has eviscerated

the statutory promise of loan forgiveness for those who have spent a decade or more in public

service dutifully repaying their loans.” Id. ¶ 17. Plaintiffs “bring this action to require [Education]

to fulfill its mandate to lawfully administer the PSLF Program, including TEPSLF.” Id.

        Plaintiffs raise five counts against Education:

        In Count I, the Eligible Plaintiffs, Cynthia Miller, Crystal Adams, and Connie Wakefield,

allege that they were improperly denied relief under the PSLF/TEPSLF Programs. Each claims

that they were eligible for PSLF and/or TEPSLF relief and that Education arbitrarily and

capriciously denied their applications in violation of Section 706(2)(A) of the APA. Compl.

¶¶ 395-400. The Complaint details each of the Eligible Plaintiffs’ alleged difficulties obtaining

relief under the PSLF and TEPSLF Programs. See id. ¶¶ 108-52 (Ms. Miller), ¶¶ 153-176 (Ms.

Adams), and ¶¶ 177-235 (Ms. Wakefield). The Eligible Plaintiffs claim that these difficulties were

due to allegedly “arbitrary errors in the processing of Ms. Miller, Ms. Adams, and Ms. Wakefield’s

applications,” which allegedly led to Education’s arbitrary denial of their applications. Id. ¶ 399.

The Eligible Plaintiffs seek an order vacating their denials and remanding to Education “with

specific instructions to approve their PSLF applications,” or, in the alternative, retaining

jurisdiction and remanding to Education with instructions to take further action “consistent with

the APA.” Id. ¶ 400. Defendants do not move to dismiss Count I at this time.

        In Count II, the Eligible Plaintiffs allege that their denial notices violated Section 555(e)

of the APA in that the notices were allegedly bereft of explanation as to why Education determined

that each Eligible Plaintiff had failed to make 120 qualifying repayments. Id. ¶ 406. The Eligible

Plaintiffs seek an order vacating their denials. Id. Defendants do not move to dismiss Count II at

this time.



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       Skipping over Count III for the moment, in Count IV, the Ineligible Plaintiffs, Deborah

Baker, Janelle Menzel, Kelly Finlaw, Gloria Nolan, and Michael Giambona, admit that they are

ineligible for PSLF relief at this time, but allege that if they had not been misinformed and

misadvised by Education and/or their respective servicers, they would be eligible. Id. ¶¶ 418-22.

The Complaint details each of the Ineligible Plaintiffs alleged loan histories and inability to obtain

relief under either the PSLF or TEPSLF Programs. See id. ¶¶ 251-93 (Ms. Baker), ¶¶ 294-317

(Ms. Menzel), ¶¶ 318-40 (Ms. Finlaw), ¶¶ 341-66 (Nolan), and ¶¶ 367-94 (Mr. Giambona). The

Ineligible Plaintiffs claim that Education’s alleged failure to account for the alleged

misinformation and incorrect advice they received render Education’s denial of the Ineligible

Plaintiffs’ PSLF/TEPSLF applications arbitrary and capricious in violation of Section 706(2)(A)

of the APA. Id. ¶¶ 418-24. The Ineligible Plaintiffs seek an order vacating their denials and

“remanding to [Education] with specific instructions to discharge their student loan debt pursuant

to [Education’s alleged] general discharge authority under 20 U.S.C. § 1082(a)(4) and 20 U.S.C.

§ 1087a(b)(2),” or, “in the alternative, an order retaining jurisdiction and remanding to [Education]

for further action . . . consistent with the APA.” Id. ¶ 423.

       Counts III and V are nearly identical. Count III is brought by the Eligible Plaintiffs and

AFT (on behalf of itself and its members) and alleges that Education’s alleged “administrative

processing errors” violated their right to due process under the Fifth Amendment. Id. ¶¶ 407-417.

AFT and the Eligible Plaintiffs seek an order vacating Education’s denial of the Eligible Plaintiffs’

PSLF/TEPSLF applications and an order requiring Education to provide all PSLF/TEPSLF

applicants with “adequate notice of the grounds for their denial,” “a meaningful decision-making

process that minimized the risk of erroneous determinations,” and “a written and reasoned

explanation for [Education’s] determination within a reasonable time period.” Id. ¶ 417. Count V



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mirrors Count III in the broad relief requested for all PSLF/TEPSLF applicants, except that it is

brought by AFT along with the Ineligible Plaintiffs, see id. ¶¶ 424-34, and asks for a decision-

making process that “account[s] for misrepresentations made by [Education] and/or Title IV

servicers, through which applicants may contest their denial and introduce evidence rebutting

[Education’s] determination and/or demonstrate that [Education] should exercise its general

discharge authority to issue forgiveness.” Id. ¶ 434.

       In their Prayer for Relief, Plaintiffs reiterate their requests for declaratory and injunctive

relief, and also seek “an order requiring [Education] to provide the Court with a status report

detailing steps taken to comply with this Court’s order, including copies of all instructions,

guidelines, or other information sent to Title IV services,” id. at Prayer for Relief No. 8, and an

order “retaining jurisdiction and enjoining [Education] from denying PSLF and TEPSLF

applications until the Court has approved [Education]’s proposed procedures to alleviate the

violations alleged herein.” Id. at Prayer for Relief No. 9.

                                   STANDARD OF REVIEW

       “Federal courts are courts of limited jurisdiction. They possess only that power authorized

by Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).

Under Rule 12(b)(1), “the plaintiff bears the burden of proving by a preponderance of evidence

that the Court has subject matter jurisdiction.” Budik v. Ashley, 36 F. Supp. 3d 132, 138 (D.D.C.

2014) (citation and internal brackets omitted). In reviewing a motion to dismiss for lack of subject

matter jurisdiction, the Court may, where necessary, consider the complaint supplemented by

undisputed facts evidenced in the record, or the complaint supplemented by undisputed facts plus

the court’s resolution of disputed facts. Herbert v. Nat’l Acad. of Scis., 974 F.2d 192, 197 (D.C.

Cir. 1992).



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        Under Rule 12(b)(6), a court may dismiss all or part of a complaint where it fails to state a

claim upon which relief can be granted. Although a complaint need not contain “detailed factual

allegations,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007), it must “contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (citation and internal quotation marks omitted). Dismissal under

Rule 12(b)(6) is appropriate “if the plaintiff can prove no set of facts in support of his claim which

would entitle him to relief.” Barr v. Clinton, 370 F.3d 1196, 1202 (D.C. Cir. 2004) (internal

quotation marks omitted). Plaintiffs must be “grant[ed] ... the benefit of all inferences that can be

derived from the facts alleged,” but “the court need not accept inferences drawn by plaintiffs if

such inferences are unsupported by the facts set out in the complaint.” Kowal v. MCI Commc’ns

Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994).

                                            ARGUMENT

I.      PLAINTIFFS ARE PRECLUDED FROM RAISING A PROGRAMMATIC
        CHALLENGE TO THE DEPARTMENT’S ADMINISTRATION OF THE
        PSLF/TEPSLF PROGRAMS

        The Individual Plaintiffs are joined by AFT on only two of the five claims alleged in the

Complaint. See Compl. at Counts III and V. The gravamen of Plaintiffs’ claims under Counts III

and V is the Department of Education’s alleged failure to act to provide administrative mechanisms

to solve the processing problems that have allegedly beset the PSLF/TEPSLF Programs. Such

claims are considered “broad programmatic challenges” foreclosed under long-standing Supreme

Court precedent. See SUWA, 542 U.S. at 64; and Lujan, 497 U.S. at 891.




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       A.      Plaintiffs’ Artful Pleading of Their Claims under Counts III and V as Due
               Process Violations Should Not Be Countenanced Given that Identical Claims
               Brought under the APA Would Be Foreclosed

       Plaintiffs attempt to circumvent the prohibition on broad programmatic challenges under

the APA by fashioning their claims as constitutional violations. Courts have rejected such artful

pleading efforts where the constitutional analysis is identical to the APA analysis. See Fares v.

Smith, 249 F. Supp. 3d 115, 120 (D.D.C. 2017), aff’d, 901 F.3d 315 (D.C. Cir. 2018) (“[T]he Court

observes that its resolution of whether Defendants have provided sufficient notice under the Due

Process Clause and the APA would be identical.”). See also Hegab v. Long, 716 F.3d 790, 797

(4th Cir. 2013) (“Hegab’s constitutional claims are in substance merely creative

recharacterizations of his allegation that the [agency] made the wrong decision and that its decision

was irrational and unsupported by the evidence.”). Courts have also frowned upon attempts by

plaintiffs to use constitutional claims to avoid the strictures Congress imposed on APA litigation.

For example, in Viet. Veterans of Am. v. Shinseki, 599 F.3d 654 (D.C. Cir. 2010), the D.C. Circuit

refused to allow plaintiffs to pursue due process claims in district court when, under the APA, the

plaintiffs’ identical unreasonable delay claims under Section 706(2) of the APA could have been

raised before the Court of Appeals for Veterans Claims (“CAVC”). Id. at 660. The Court

explained that “APA Section 704 . . . authorizes review only if a party lacks an adequate remedy,”

id. at 659, but because plaintiffs had such an adequate remedy (i.e., the CAVC), an APA claim of

unreasonable delay would have been dismissed. The Court refused to allow the plaintiffs to

circumvent Section 704 of the APA by pursuing constitutional due process claims. Id. at 660.

Likewise, in Chiayu Chang v. U.S. Citizenship & Immigration Servs., 254 F. Supp. 3d 160 (D.D.C.

2017), this Court refused to allow plaintiffs to conduct discovery in support of their constitutional

claim, where discovery was not permitted under their nearly identical APA claims. Id. at 162.



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Here, the Court should not allow a programmatic challenge to proceed under the Due Process

Clause that would otherwise be prohibited if brought as an APA challenge.

       B.      Plaintiffs’ Programmatic Challenges Should Be Dismissed

               1. Counts III and V of the Complaint Seek a Court Order Directing Wholesale
                  Changes to the PSLF Program

       To understand why Plaintiffs’ claims under Counts III and V are the type of broad

“programmatic challenges,” that are not legally cognizable, 2 one need only look at the relief

Plaintiffs seek in the Complaint. In Count III, Plaintiffs seek an order requiring the Department

of Education to provide all “PSLF and TEPSLF applicants with adequate notice of the grounds for

their denial,” a “meaningful decision-making process that minimizes the risk of erroneous

determinations,” and “a written and reasoned explanation for its determination within a reasonable

time period.” Compl. ¶ 417; see also id. at Prayer for Relief Nos. 6 & 7; see also id. ¶ 434 (nearly

identical to ¶ 417, but seeking a “meaningful decision-making process to account for

misrepresentations made by [Education] and/or Title IV services, through which applicants may

contest their denial and introduce evidence rebutting [Education]’s determination and/or

demonstrate that [Education] should exercise its general discharge authority to issue forgiveness”).

Plaintiffs also seek an order “requiring [Education] to provide the Court with a status report

detailing steps taken to comply with this Court’s order, including copies of all instructions,

guidelines, or other information sent to Title IV servicers,” id. at Prayer for Relief No. 8, and an

order “retaining jurisdiction and enjoining [Education] from denying PSLF and TEPSLF



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  Courts have variously addressed this question as an issue of standing and subject matter
jurisdiction under Rule 12(b)(1) or as a failure to state a claim under Rule 12(b)(6). See Long
Term Care Pharmacy All. v. Leavitt, 530 F. Supp. 2d 173, 187 n.7 (D.D.C. 2008). The analysis
should not change under either ground, but out of an abundance of caution, Defendants move to
dismiss Counts III and V under both Rule 12(b)(1) and Rule 12(b)(6). See id. (noting that under
either scenario, “the Court’s analysis would remain the same”).
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applications until the Court has approved [Education]’s proposed procedures to alleviate the

violations alleged herein.” Id. at Prayer for Relief No. 9. In other words, Plaintiffs intend for the

Court to oversee a wholesale programmatic change to Education’s administration of the PSLF and

TEPSLF Programs.

            2. Wholesale Programmatic Changes Are Foreclosed By SUWA & Lujan

         The Supreme Court has long warned courts away from accepting such invitations. In

Lujan, a group attempted to challenge a number of failures by the Department of the Interior

(“Interior”) in administering a government program—including the failure to revise land use plans,

submit recommendations to Congress, and provide adequate environmental impact statements.

See Lujan, 497 U.S. at 891. The Court held the claim was unreviewable under the APA, no matter

how often the agency had repeated the failures. Id. Most pertinent here, the Court held that a

plaintiff “cannot seek wholesale improvement of [a] program by court decree, rather than in the

offices of the Department or the halls of Congress, where programmatic improvements are

normally made.” Id.

         The Court in SUWA reiterated Lujan’s rejection of programmatic challenges. 542 U.S. at

64-66. SUWA involved another suit against Interior, specifically regarding its alleged failure to

act to protect certain public lands from environmental damage by off-road vehicles (“ORVs”).

The plaintiffs in SUWA sought to compel Interior to take action to prevent degradation of certain

designated wilderness areas, to implement provisions in its land use plans related to ORV use, and

to undertake supplemental environmental analyses for areas where ORV use had increased. Id. at

60-61.

         The Court held that these claims were not remediable under the APA because they did not

involve claims “that an agency failed to take a discrete agency action that it [was] required to



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take.” Id. at 64; see id. at 61-62 (analyzing of Sections 702, 704, and 706 of the APA). The SUWA

Court held that the APA’s limitations were intended “to protect agencies from undue judicial

interference with their lawful discretion, and to avoid judicial entanglements in abstract policy

disagreements which courts lack both the expertise and information to resolve.” Id. at 66. The

Court warned that “[i]f courts were empowered to enter general orders compelling compliance

with broad statutory mandates, they would necessarily be empowered, as well, to determine

whether compliance was achieved . . ., injecting the judge into day-to-day agency management.”

Id. at 66-67. The Court concluded that the plaintiffs were pursuing “pervasive oversight,” id. at

67, and therefore their claims were not cognizable.

        More recently, in City of New York v. U.S. Dep’t of Def., 913 F.3d 423 (4th Cir. 2019),

three municipalities sued the Department of Defense (“DoD”) for its allegedly persistent failure to

carry out its legal obligation to provide records to the national Instant Criminal Background Check

System managed by the Federal Bureau of Investigation. Id. at 426-27. The DoD “readily

admit[ted]” that it had “long struggled to comply with [its] . . . affirmative reporting [obligations],”

and the Court noted that the DoD’s Inspector General had issued two reports finding that a

“substantial percentage of required records were not being submitted to the FBI.” Id. at 429.

Nevertheless, the Fourth Circuit dismissed the municipalities’ claims after concluding that the

claims were “generalized grievances” that asked the court “to improve an agency’s performance

or operations.” Id. at 431. The Fourth Circuit held that it was “woefully ill-suited” to do so as that

would require the court to “engage in day-to-day oversight of the executive’s administrative

practices.” Id.

        In Veterans for Common Sense v. Shinseki, 678 F.3d 1013, 1027-30 (9th Cir. 2012) (en

banc), two nonprofits representing veterans sued the Department of Veterans Affairs (“VA”) to



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remedy delays in the provision of mental health care and the adjudication of service-connected

disability compensation claims by the VA. Id. at 1015. Like the DoD, the VA recognized its

struggles to provide the services it readily admitted veterans deserved. See id. (citing testimony

of the VA’s Acting Under Secretary for Benefits). Nevertheless, while the court acknowledged

that review of a delay claim in an individual case might be available, it concluded that such review

could not be extended to systemic delay because such an “approach would have the federal courts

as virtually continuing monitors of the wisdom and soundness of Executive action.” Id. at 1028

(internal quotation marks omitted).

        In Cobell v. Norton, 392 F.3d 461 (D.C. Cir. 2004), the D.C. Circuit analyzed the propriety

of a district court’s order that Interior complete a “detailed plan to fulfill its fiduciary obligations,”

to beneficiaries of the Individual Indian Money trust accounts set up by Congress over a century

ago, identify any potentially problematic portions of the plan, and implement the plan. Id. at 474.

The litigation was part of a long-running challenge to what Congress found to be the “hopelessly

inept management of the [trust] accounts.” Id. at 463. The D.C. Circuit nevertheless found the

district court’s order requiring Interior to complete its promised detailed plan to be problematic.

Not only did it amount to “an order to obey the law in managing the trusts,” id. at 475, but it also

appeared to “suggest[] an intent to take complete charge of the details of whatever plan Interior

might submit.” Id. The D.C. Circuit vacated the order as it “seem[ed] a specification . . . of the

court’s preferred methodology for assuring Interior’s fulfillment of [its trust] duties,” which

“collide[d] with the APA, Lujan, and [SUWA].” Id.

        This Court has also consistently rejected APA suits predicated on aggregated claims that

merely highlight an agency’s general deficiencies to comply with statutory or regulatory

obligations. For example, in Del Monte Fresh Produce N.A., Inc. v. United States, 706 F. Supp.



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2d 116 (D.D.C 2010), plaintiffs, an international produce company, sought declaratory and

injunctive relief for what they alleged was the U.S. Food and Drug Administration’s (“FDA”)

allegedly unlawful pattern and practice of delay in sampling and inspecting plaintiff’s imported

produce, which allegedly caused the produce to go bad and become less valuable. Id. at 116, 118.

The Court rejected the plaintiff’s claim, reasoning that if the Court were to review the claim, it

would have to “consider the procedures by which the FDA inspects samples and makes decisions

as to their suitability for import. Such broad review of agency operations is just the sort of

‘entanglement’ in daily management of the agency’s business that the Supreme Court has

instructed is inappropriate.” Id. at 119.

       In Long Term Care Pharmacy All. v. Leavitt, 530 F. Supp. 2d 173 (D.D.C. 2008), plaintiffs

alleged that the Centers for Medicare and Medicaid Services had failed to provide accurate and

timely information regarding the eligibility of Medicare and Medicaid beneficiaries for

prescription drug plans as required by law, and that the erroneous eligibility data had caused delays

in reimbursements of co-payments for prescription drugs. Id. at 175. The Court, following SUWA,

rejected plaintiffs’ allegations, characterizing them as “general[] attack[s on] the adequacy (i.e.,

the accuracy and timeliness) of the eligibility notification process that [the agency] has instituted

. . . and the ‘systemic data failures’ that it has allegedly produced.” Id. at 186. The Court ruled

that such attacks are not cognizable under the APA. Id.

       Under this well-established precedent, the litany of Education’s alleged “flaws” in the

administration of PSLF and TEPSLF of which Plaintiffs complain “cannot be laid before th[is]

court[ ] for wholesale correction under the APA[.]” Sierra Club v. Peterson, 228 F.3d 559, 567-

68 (5th Cir. 2000) (en banc) (citing Lujan, 497 U.S. at 892-93). Although “[c]ourts are well-suited

to reviewing specific agency decisions, such as rulemakings, orders, or denials[,]” City of New



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York, 913 F.3d at 431, in the absence of any discrete action, courts risk “embarking on the kind of

wholesale, programmatic review of general agency conduct for which courts are ill-suited, and for

which they lack authority.” Friends of the Earth v. U.S. Dep’t of Interior, 478 F. Supp. 2d 11, 25

(D.D.C. 2007). In such cases, “courts would be forced either to enter a disfavored ‘obey the law’

injunction, or to engage in day-to-day oversight of the executive’s administrative practices”—

“alternatives” which Plaintiffs pursue in this case and which “are foreclosed by the APA, and

rightly so.” City of New York, 913 F.3d at 431 (internal citation omitted); accord Del Monte, 706

F. Supp. 2d at 119.

             3. Oversight of and Corrections to the PSLF Program Are the Responsibility of
                Congress and the Executive Branch

          Across-the-board grievances concerning a government program do not belong in a

courtroom; rather, they should be directed towards Congress and the Executive Branch, which

have experience creating laws and regulations to improve wayward programs. Lujan, 497 U.S. at

891. “By leaving programmatic decisions and relief to the two political branches of government

. . . the appropriate deference to the separation of powers vital to our system of government is

properly respected.” Sierra Nev. Forest Prot. Campaign v. Rey, 573 F. Supp. 2d 1316, 1328 (E.D.

Cal. 2008) (emphasis added), aff’d in part, rev’d sub nom. Sierra Forest Legacy v. Sherman, 646

F.3d 1161 (9th Cir. 2011). As the D.C. Circuit has explained, “[c]ourts owe substantial deference

to agency prerogatives in fulfilling their legal obligations, especially where Congress intervenes

to address longstanding problems. . . .” Cobell v. Norton, 240 F.3d 1081, 1096 (D.C. Cir. 2001).

“For good reason, courts are reluctant to upset existing agency priorities, unless the delay is

‘egregious.’” Id. (quoting Telecomms. Research & Action Ctr. v. FCC, 750 F.2d 70, 79 (D.C. Cir.

1984)).




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        Since its enactment, both Congress and the Executive Branch have maintained oversight

over the PSLF and TEPSLF Programs. Congress, in particular, has long been concerned with the

implementation of the PSLF Program, and its oversight and modifications to the Program have

often had unintended consequences that Congress alone must fix. The TEPSLF Program is the

perfect example of this. While Congress generously authorized an additional $700 million for loan

forgiveness relief, it largely maintained the same eligibility requirements for the TEPSLF that it

required for the PSLF. Thus, if an individual borrower was denied loan forgiveness under the

PSLF because the borrower had failed to consolidate his/her FFEL loan into a Direct Loan, that

borrower would still be ineligible for TEPSLF. Or, if an individual borrower consolidated his/her

FFEL loan into a Direct loan, but only did so after several years of repayments under the FFEL

program, that borrower still would not be able to count his/her pre-consolidation payments toward

the 120-payment count. Congress easily could have fixed these problems, which predominantly

affect individuals who received FFEL loans (before new loans were ended in that program after

June 30, 2010), by adding FFEL loans to the list of loans eligible for relief, but it did not. Bills

have been introduced in the House and the Senate to enact such a change, see What Can You Do

For Your Country Act, S. 1203 and H.R. 2441, 116th Cong. (2019); it is not the Court’s role to fix

that issue.

        Nor does it make sense for the Court to step in to manage the administration of the

PSLF/TEPSLF Programs when the GAO has provided in-depth oversight, particularly given that

Education has agreed to implement all of GAO’s recommendations in its last two reports and has

identified the steps it will take, including agreeing to “review the letters the PSLF servicer sends

to borrowers to determine how to better communicate regarding qualifying payment counts,

program requirements, and employer eligibility,” GAO-18-547 at 25-26, and agreeing to add



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information to TEPSLF denial letters about the four options the Department provides to challenge

TEPSLF denials. GAO-19-595 at 26.

       And yet, AFT seeks an order from the Court “retaining jurisdiction and enjoining ED from

denying PSLF and TEPSLF applications until the Court has approved ED’s proposed procedures

to alleviate the violations alleged herein.” Compl. at Prayer for Relief No. 9. That request seeks

exactly the sort of “day-to-day oversight” in which courts are prohibited from engaging. City of

New York, 913 F.3d at 431 (internal citation omitted); accord Del Monte, 706 F. Supp. 2d at 119.

Respectfully, the Court simply does not have the expertise necessary to fix the problems associated

with the PSLF/TEPSLF Programs. For example, the Court is not equipped to design a “decision-

making process that minimizes the risk of erroneous determinations,” Compl. ¶ 417, or one that

“account[s] for misrepresentations made by [Education] and/or Title IV servicers.” Id. ¶ 434.

       Accordingly, the Court should not allow itself to be dragged into the day-to-day

management of the PSLF/TEPSLF Programs and therefore should dismiss Counts III and V as

impermissible programmatic challenges consistent with Lujan and SUWA.

II.    INELIGIBLE PLAINTIFFS LACK STANDING AND FAIL TO STATE A CLAIM
       UPON WHICH RELIEF MAY BE GRANTED

       In Count IV, the Ineligible Plaintiffs seek relief that the Court cannot provide and therefore

lack standing pursuant to Fed. R. Civ. P. 12(b)(1). They also fail to state a claim upon which relief

may be granted under Fed. R. Civ. P. 12(b)(6). Each of the Ineligible Plaintiffs allege that the

Department violated the APA by arbitrarily and capriciously denying their PSLF applications.

Compl. at Count IV (citing 5 U.S.C. § 706(2)). Specifically, they each allege that they would be

eligible for PSLF (and/or TEPSLF) relief if they had not received misinformation from their loan

servicers. See id. ¶¶ 422(a)-(e). They ask the Court to “vacat[e] [their] denials and remand[] to

[Education] with specific instructions to discharge their student loan debt pursuant to [Education]’s

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general discharge authority under 20 U.S.C. § 1082(a)(4) and 20 U.S.C. § 1087a(b)(2) or, in the

alternative, an order retaining jurisdiction and remanding to ED for further action with respect to

each. . . .” Id. ¶ 423. The Court has no authority to do so and should dismiss Count IV.

       A.      Count IV Should Be Dismissed Because the Ineligible Plaintiffs Lack
               Standing to Bring It

       “Because Article III limits the constitutional role of the federal judiciary to resolving cases

and controversies, a showing of standing ‘is an essential and unchanging’ predicate to any exercise

of [federal] jurisdiction.” Fla. Audubon Soc’y v. Bentsen, 94 F.3d 658, 663 (D.C. Cir. 1996) (en

banc) (quoting Lujan, 504 U.S. 555 (1992)). “‘The irreducible constitutional minimum of standing

contains three elements: (1) injury-in-fact, (2) causation, and (3) redressability.’” Nat’l Ass’n of

Home Builders v. EPA, 667 F.3d 6, 11 (D.C. Cir. 2011) (citation omitted). “Thus, to establish

standing, a litigant must demonstrate a ‘personal injury fairly traceable to the [opposing party’s]

allegedly unlawful conduct [that is] likely to be redressed by the requested relief.’” Id. (citation

omitted). “The absence of any one of these three elements defeats standing.” Newdow v. Roberts,

603 F.3d 1002, 1010 (D.C. Cir. 2010).

       The Ineligible Plaintiffs have no standing to bring Count IV because the Court cannot

provide them the relief they seek. See Swan v. Clinton, 100 F.3d 973, 976 (D.C. Cir. 1996)

(indicating that the “‘redressability’ element of standing” entails the question of “whether a federal

court has the power to grant [the plaintiff's requested] relief”); Lozansky v. Obama, 841 F.Supp.2d

124, 132 (D.D.C. 2012) (“Plaintiffs . . . lack standing because the Court cannot issue the requested

writ of mandamus, and thus cannot redress the [claimed] injury.”). The Ineligible Plaintiffs

admittedly do not meet the eligibility requirements for either PSLF or TEPSLF relief, and

Congress has not taken any steps to make them eligible. The Court has no authority to “override

Congress’ policy choice” by “reject[ing] the balance that Congress has struck in a statute.” United

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States v. Oakland Cannabis Buyers' Coop., 532 U.S. 483, 497–98 (2001). This is so even where

the statute as framed creates “error and other difficulties” in a program that confront even those

“who in good faith tr[y]” to comply with the program’s requirements. Boehm v. Comm’r, 326 U.S.

287, 295 (1945). “Any desired remedy for such a situation, of course, lies with Congress rather

than with the courts. It is beyond the judicial power to distort facts or to disregard legislative intent

in order to provide equitable relief in a particular situation.” Id.

        For example, Ms. Baker admits that she had FFEL Loans until 2017 and has not made 120

qualifying payments on Direct Loans. Compl. ¶ 420(a). Ms. Finlaw admits that she had a FFEL

Loan until 2018 and has not made 120 qualifying payments on Direct Loans. Id. ¶ 420(c). And

Dr. Giambona also admits that he had a FFEL Loan and has not made 120 qualifying payments on

Direct Loans. Id. ¶ 420(e). Congress made a clear policy decision when it enacted the PSLF

program to exclude persons with FFEL Loans from PSLF relief. CRS Rep. R45389 at 3 n.14.

Prior to the enactment of the CCRAA, some proposed legislation would have allowed the benefit

to go to those with FFEL loans, but Congress did not choose that path. Id. Congress also chose

not to make FFEL loans eligible for TEPSLF relief even though it was fully aware that this issue

was a problem for many borrowers. See GAO-19-595 at 5; see also CFPB Rep. 2017 at 29-30.

Legislation has been introduced in the House and Senate that would allow for relief to those with

FFEL loans, see What Can You Do For Your Country Act, S. 1203 and H.R. 2441, 116th Cong.

(2019), but neither bill has become a law. This Court cannot effectively legislate where Congress

has clearly not.

        Ms. Menzel and Ms. Nolan allege that they spent years on the wrong repayment plan and

admit that they have not made the 120 qualifying payments necessary to obtain relief under PSLF.

Compl. ¶¶ 420(b) & (d). Ms. Menzel claims that her participation in another benefit program, the



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Teacher Loan Forgiveness (“TLF”) program, caused her to lose years of qualifying payments

under PSLF. She alleges that if she had not been misinformed by her servicer, she would have

foregone the TLF program in favor of the PSLF program. Id. ¶¶ 297-300. Ms. Nolan claims her

loan servicer failed to tell her how to qualify for PSLF and failed to inform her that she could have

converted her graduated repayment plan to an IDR plan. Id. ¶¶ 342-44.

       Again, Congress, in enacting TEPSLF could have authorized relief for individuals in

situations similar to both Ms. Menzel and Ms. Nolan. Instead, Congress authorized relief only for

borrowers, such as Ms. Nolan, who had graduated repayment plans. Congress did not authorize

relief for those, such as Ms. Menzel, who had participated in the TLF program. See GAO-19-595

at 6 (identifying “the Graduated repayment plan” as eligible under TEPSLF).

       Plaintiffs allege that the Court has the authority to order the Secretary to waive such

statutory requirements under either 20 U.S.C. § 1082(a)(4) or 20 U.S.C. § 1087a(b)(2). Compl. ¶

423. This is incorrect. While Section 1082(a)(4) states that the Secretary may, “subject to the

specific limitations in this part, consent to modification, with respect to rate of interest, time of

payment of any installment of principal and interest or any portion thereof, or any other provision

of any note or other instrument evidencing a loan which has been insured by the Secretary under

this part,” 20 U.S.C. § 1082(a)(4), a separate provision, 20 U.S.C. § 1082(a)(2), prohibits

injunctive relief against the Secretary. See Bank of Am. NT & SA v. Riley, 940 F. Supp. 348, 350

(D.D.C. 1996) (noting that an injunction is “precluded by § 432(a)(2) of the Higher Education Act

of 1965, which prohibits the issuance of an “‘attachment, injunction, garnishment, or other similar

process . . . against the Secretary or property under the Secretary's control”) (quoting 20 U.S.C. §

1082(a)(2)), aff'd, 132 F.3d 1480 (D.C. Cir. 1997); Mashiri v. Dep't of Educ., 724 F.3d 1028, 1031




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(9th Cir. 2013) (identifying 20 U.S.C. § 1082(a)(2) as “§ 1082(a)(2)’s separate ‘anti-injunction

clause’”).

       Section 1087a(b)(2), which states that “[n]otwithstanding any other provision of this part,

loans made to borrowers under this part that, except as otherwise specified in this part, have the

same terms, conditions, and benefits as loans made to borrowers under section 1078 of this title,

shall be known as ‘Federal Direct Stafford/Ford Loans,’” does not afford the Court the authority

to order the Secretary to discharge the Ineligible Plaintiffs’ federal student loan debt, even if the

Secretary has such discretion. Courts do not have the authority to order executive branch officials

to exercise their discretion in a particular way. See FTC v. Anderson, 631 F.2d 741, 750 (D.C. Cir.

1979) (“[Although a] citizen may be entitled to a court ruling that an agency exercise its

discretion[,] . . . the court cannot say which way the discretion is to be exercised.”).

       Because the Court cannot order the relief the Ineligible Plaintiffs seek under Count IV, they

lack standing to pursue such relief and Count IV should be dismissed.

       B.      Count IV Should Be Dismissed For Failure to State a Claim

       Alternatively, even if the Court finds that the Ineligible Plaintiffs have standing, they have

failed to state a claim under Rule 12(b)(6). All five Ineligible Plaintiffs admit that they have not

made the necessary 120 qualifying payments and thus are ineligible for PSLF relief. Compl. ¶¶

420(a)-(e). An agency cannot be found to abuse its discretion in finding an applicant ineligible

when the applicant has conceded her ineligibility. Nothing in the statutes authorizing the PSLF or

the TEPSLF allow for the Secretary to ignore a borrower’s failure to meet the eligibility

requirements, nor has the Secretary issued any regulations to that effect. Thus, as a matter of law,

the Department’s denials of the Servicer Misconduct Plaintiffs’ PSLF and/or TEPSLF applications

were not arbitrary and capricious. Cf. Hovhannisyan v. Holder, 577 F. App’x 748, 751 (9th Cir.



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2014) (“Adjustment of status is only available to aliens who were ‘admitted or paroled’ into the

United States,” and “Hovhannisyan, through counsel, conceded to the charge of being present in

the United States without admission. As such, the [the agency’s] determination that Hovhannisyan

was not eligible for adjustment of status was not ‘arbitrary, irrational, or contrary to law.’”)

(quoting Zhao v. Holder, 728 F.3d 1144, 1147 (9th Cir. 2013)). Therefore, Count IV should be

dismissed.

III.    AFT LACKS BOTH ORGANIZATIONAL AND ASSOCIATION STANDING

        Finally, AFT should be dismissed from the litigation because it has neither organizational

nor association standing. Cf. Comp. ¶ 23 (claiming both).

        A.     AFT Lacks Organizational Standing

        Under the doctrine of organizational standing, an organization may sue on its own behalf

to protect against the violation of its own interests. Nat’l Treasury Employees Union v. United

States, 101 F.3d 1423, 1428-29 (D.C. Cir. 1996). To demonstrate such standing, a plaintiff has

the burden of showing “actual or threatened injury in fact that is fairly traceable to the alleged

illegal action and likely to be redressed by a favorable court decision.” PETA v. U.S. Dep't of

Agric., 797 F.3d 1087, 1093 (D.C. Cir. 2015). Here, AFT cannot meet the injury-in-fact prong of

the organizational standing analysis.

        Under Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), a “concrete and

demonstrable injury to the organization’s activities . . . constitutes far more than simply a setback

to the organization’s abstract social interests.” Id. at 379. “Making this determination is a two-

part inquiry—‘we ask, first, whether the agency’s action or omission to act injured the

[organization’s] interest and, second, whether the organization used its resources to counteract that

harm.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 919 (D.C. Cir. 2015) (quoting PETA,



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797 F.3d at 1094). To satisfy the first prong—“an injury to its interest”—“‘an organization must

allege that the defendant’s conduct perceptibly impaired the organization’s ability to provide

services.’” Id. (quoting Turlock Irrigation Dist. v. FERC, 786 F.3d 18, 24 (D.C. Cir. 2015)).

Perceptible impairment occurs when the challenged conduct causes an actual “inhibition of [the

organization’s] daily operations.” Id. (quoting PETA, 797 F.3d at 1094).             “The court has

distinguished between organizations that allege that their activities have been impeded from those

that merely allege that their mission has been compromised.” Abigail All. for Better Access to

Developmental Drugs v. Eschenbach, 469 F.3d 129, 133 (D.C. Cir. 2006).

       Here, AFT claims that its purpose “is to promote fairness, democracy, economic

opportunity, and high-quality education, healthcare, and public services for students, their families,

and communities.” Compl. ¶¶ 19, 42(a). AFT fails to allege that the alleged problems with the

PSLF and TEPSLF Programs impede AFT from engaging in those activities. See Environmental

Working Group v. FDA, 301 F. Supp. 3d 165, (D.D.C. 2018) (“It is damage to organizational

activities that an organization must allege, and the Plaintiffs here only allege that their

organizational goals have been impeded.”). Although AFT claims that it has had to “redirect its

resources from other projects to assist its members in seeking and obtaining the loan forgiveness

to which they are statutorily entitled,” Compl. ¶ 42(c), AFT critically does not allege that its

operational costs have gone beyond those normally expended. In the absence of such an allegation,

AFT fails to plead organizational standing. See Food & Water Watch, 808 F.3d at 920 (“[A]n

organization does not suffer an injury in fact where it ‘expend[s] resources to educate its members

and others’ unless doing so subjects the organization to ‘operational costs beyond those normally

expended.’”) (quoting Nat'l Taxpayers Union, Inc. v. United States, 68 F.3d 1428, 1434 (D.C. Cir.




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1995)). See also Environmental Working Group, 301 F. Supp. 3d at 172-73 (same); Cigar Ass’n

of Am. v. F.D.A., 323 F.R.D. 54, 63 (D.D.C. 2017) (same).

       Because AFT has failed to allege an injury-in-fact to its own operations, it lacks

organizational standing to participate in this litigation and should be dismissed for that reason.

       B.      AFT Lacks Association Standing

       To establish associational standing, AFT must show that “(1) at least one of [its] members

would have standing to sue; (2) the interests [it] seek[s] to protect are germane to the

organization[’s] purposes; and (3) neither the claim asserted nor the relief requested requires the

participation of individual members.” Sierra Club v. EPA, 754 F.3d 995, 999 (D.C. Cir. 2014).

AFT’s bid for associational standing fails under the third factor. It is “evident that significant

participation” from AFT’s members is required to prove the due process violations alleged by AFT

under Counts III and V. Community Fin. Servs. Ass’n of Am., Ltd. v. FDIC, No. 14-cv-953, 2016

WL 7376847, at *4 (D.D.C. Dec. 19, 2016). “[T]o make out a violation of due process, the plaintiff

must show the Government deprived her of a ‘liberty or property interest’ to which she had a

‘legitimate claim of entitlement,’ and that ‘the procedures attendant upon that deprivation were

constitutionally [in]sufficient.’” Roberts v. United States, 741 F.3d 152, 161 (D.C. Cir. 2014)

(quoting Ky. Dep't of Corr. v. Thompson, 490 U.S. 454, 460 (1989)).

       Although AFT seeks wide-ranging programmatic relief on behalf of its members, it fails

to allege that the relief it seeks will uniformly resolve its members’ alleged injuries. AFT admits

that if the Court grants the relief it seeks, such relief only “will inure to the benefit of all AFT

members actually injured.” Compl. ¶ 43(c). Cf. Long Term Care Pharmacy All. v. UnitedHealth

Group, Inc., 498 F. Supp. 2d 187, 194 (D.D.C. 2007) (requiring the participation of an

association’s individual members given that “different procedures and conditions” existed for each



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member such that “defendant may have breached its obligations to some . . . but not to others”).

Individualized proof is necessary for AFT members to demonstrate that their due process rights

were violated, Rent Stabilization Ass'n of New York City, Inc. v. Dinkins, 805 F. Supp. 159, 165

(S.D.N.Y. 1992) (“The same individualized proof necessary to determine whether there was a

taking is essential in finding a violation of due process”), aff'd, 5 F.3d 591 (2d Cir. 1993), which

is no doubt why the factual allegations supporting each of the individual plaintiffs’ claims span

271 paragraphs. See Compl. ¶¶ 107-235 (for the Eligible Plaintiffs), and ¶¶ 251-394 (for the

Ineligible Plaintiffs). Each of the Individual Plaintiffs’ claims are incredibly fact-specific, as each

must demonstrate that the procedures attendant upon their application denials were constitutionally

insufficient. As can be seen from the Complaint’s allegations, none of the Individual Plaintiffs

had the exact same experience as the others. Compare Compl. ¶ 147 (alleging that Ms. Miller took

advantage of numerous options to challenge her denials, “including telephone calls and emails to

[Education] and FedLoan Servicing, questions submitted via the ‘Contact Us’ form on the

FedLoan Servicing website and [Education]’s online FSA Feedback Center, letters to Ed and

FedLoan Servicing via U.S. Postal Service Priority Mail, and documents uploaded to her FedLoan

Servicing online account”), with id. ¶¶ 217-221 (alleging that Ms. Wakefield challenged her

denials in part by filing a complaint with the CFPB, which sent her “notice . . . that FedLoan

Servicing and [Education] had ‘performed a thorough review’ of [her] federal student loan account

and that her complaint had been closed with explanation”).

       “[W]here a fact-specific inquiry is necessary to establish a violation, . . . [c]ourts have

concluded that member participation is required.” Community Fin. Servs. Ass’n of Am., Ltd., 2016

WL 7376847, at *7 (citing Friends for American Free Enter. Ass’n v. Wal-Mart Stores, Inc., 284

F.3d 575, 577 (5th Cir. 2002)); see also Kans. Health Care Ass’n v. Kans. Dep’t of Soc. & Rehab.



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Servs., 958 F.2d 1018, 1023 (10th Cir. 1992) (“[B]ecause proof and resolution of the claims

asserted [by plaintiff associations] will unavoidably require individual participation of their

members, we hold that the two associations lack standing to sue as representative of their

members”); Long Term Care Pharmacy Alliance, 498 F. Supp. 2d at 194-95. The fact that AFT

seeks injunctive relief is insufficient to establish that member participation is not required. See

Community Fin. Servs. Ass’n of Am., Ltd., 2016 WL 7376847, at *5-6 (citing Friends for American

Free Enter. Ass’n, 284 F.3d at 577; and Kans. Health Care Ass’n, 958 F.2d at 1023).

       Accordingly, AFT should be dismissed from this litigation for lack of standing.

                                        CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ Partial Motion to Dismiss,

and dismiss Counts III, IV, and V of the Complaint, and should also dismiss AFT (i.e., Plaintiffs

Randi Weingarten and the American Federation of Teachers, AFL-CIO) as parties to this litigation.




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Dated: October 4, 2019                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing Memorandum in Support of Defendants’ Partial

Motion to Dismiss Counts III, IV, and V and to Dismiss Plaintiffs Randi Weingarten and American

Federation   of   Teachers,   AFL-CIO,      with     the   Clerk   of   the   Court   via   email   at

dcd_cmecf@dcd.uscourts.gov per the Clerk’s advisement that “CM/ECF for the District Court of the

District of Columbia will be unavailable from Friday, October 4, at 1:00 pm through Monday, October

7, at 7:00 am while we upgrade to the Next Generation of CM/ECF (NextGen). If you have a statutory

requirement to file during this time frame, you may file your document in PDF format at

dcd_cmecf@dcd.uscourts.gov.” I have also served this document via email on Plaintiffs’ Counsel as

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